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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

                             Case No.: 09-CV-82333-RYSKAMP/VITUNAC

  JONATHAN C. LAFONTIN,

          Plaintiff,
  v.

  FOCUS RECEIVABLES
  MANAGEMENT, LLC,

          Defendant.
                                                    /

                           ORDER DISMISSING CASE WITH PREJUDICE

          THIS CAUSE comes before the Court on the parties’ joint stipulation of settlement [DE 28]

  filed on October 27, 2010. In the stipulation, the parties state that they have amicably settled all

  matters in dispute and seek dismissal of this action with prejudice. It is hereby

          ORDERED AND ADJUDGED that

                  (1) This case is DISMISSED WITH PREJUDICE;

                  (2) Except as otherwise agreed by the parties, the parties shall bear their own

                       attorneys’ fees and costs;

                  (3) Any pending motions are DENIED as MOOT; and

                  (4) The Clerk of Court shall CLOSE THIS CASE.

          DONE AND ORDERED in Chambers at West Palm Beach, Florida this 1 day of November,

  2010.

                                                           /s/ Kenneth L. Ryskamp
                                                           KENNETH L. RYSKAMP
                                                           UNITED STATES DISTRICT JUDGE
